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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )      8:14CR155
                                                )
                       vs.                      )      ORDER FOR DISMISSAL
                                                )
JUAN MOYA,                                      )
                                                )
                       Defendant.               )


        Pursuant to Motion of the United States (Filing No. 184), leave of court is granted for the

filing of the dismissal of the Petition for Action on Conditions of Pretrial Release (Filing No.

160).

        IT IS ORDERED that the Motion to Dismiss the Petition for Action on Conditions of

Pretrial Release (Filing No. 184) is granted.

        Dated this 3rd day of June, 2015.

                                                BY THE COURT:



                                                  s/ Joseph F. Bataillon
                                                JOSEPH F. BATAILLON
                                                Senior United States District Judge
